972 F.2d 337
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.GREAT AMERICAN INSURANCE COMPANY and American National FireInsurance Company, Plaintiffs, Appellants,v.PRECISION PRODUCTS CORPORATION and Northrop Corporation,Defendants, Appellees.
    No. 92-1083.
    United States Court of Appeals,First Circuit.
    August 7, 1992
    
      Appeal from the United States District Court for the District of Massachusetts
      Seymour Kagan with whom Herzfeld &amp; Rubin, Thomas E. Peisch, Mary Elizabeth Van Dyck and Conn, Kavanaugh, Rosenthal &amp; Peisch were on brief for appellants.
      Kirk A. Pasich with whom Mary K. Barnes, Wendy I. Kirchick, Hill, Wynne, Troop &amp; Meisinger, James Dillon, Susan Insoft and Goodwin, Procter &amp; Hoar were on brief for appellee, Northrop Corporation.
      D.Mass.
      AFFIRMED.
      Before Selya, Circuit Judge, Lay,* Senior Circuit Judge, and Pieras,* *District Judge.
      Per Curiam:
    
    
      1
      Great American Insurance Company and American National Fire Insurance Company appeal from the order of the district court1 dismissing their action in that court under  Colorado River Water Conservation District v. United States, 424 U.S. 800 (1976), based on the existence of parallel proceedings in a California court.  We affirm on the basis of the district court's thorough and well-reasoned opinion.
    
    
      2
      Northrop Corporation (Northrop) filed suit in California in January of 1989 claiming that several of its insurers failed to acknowledge coverage of property damages sought in certain environmental litigation brought against Northrop.  In July of 1991, Great American Insurance Company and American National Fire Insurance Company, who were not originally named as parties in Northrop's California litigation, filed this action in the federal district court in Massachusetts seeking a declaratory judgment that they were not obligated to defend or indemnify Northrop in the environmental claims against it;  in addition they sought damages for fraudulent misrepresentation, fraudulent concealment, and negligent misrepresentation.2
    
    
      3
      In August of 1991, Northrop amended its complaint in the California action to add Great American, American National and twelve other insurance carriers as defendants.  Northrop also filed a motion seeking dismissal of the pending action in Massachusetts under the Colorado River doctrine, asserting the need for deference to parallel state proceedings.  After an analysis of the relevant factors as established in Colorado River and subsequent Supreme Court and First Circuit precedents, the district court declined federal jurisdiction and granted Northrop's motion.  On appeal, the two insurance companies challenge the district court's order dismissing its action as an abuse of discretion.  We affirm the order of the district court.
    
    
      4
      The district court addressed each of the Colorado River factors, as well as those established in  Moses H. Cone Memorial Hospital v. Mercury Construction Corp., 460 U.S. 1 (1983), and  Villa Marina Yacht Sales v. Hatteras Yachts, 947 F.2d 529 (1st Cir. 1991), cert. denied, 112 S. Ct. 1674 (1992).  Under the Colorado River doctrine, federal courts must consider:  (1) whether either court assumed jurisdiction over a res;  (2) the inconvenience of the federal forum;  (3) the desirability of avoiding piecemeal litigation;  (4) the order in which the forums obtained jurisdiction; (5) whether state or federal law controls; (6) the adequacy of the state forum to protect the parties' rights; and (7) the vexatious or reactive nature of the federal lawsuit.
    
    
      5
      The district court noted the irrelevancy of the first factor and determined that with the exception of the third factor, application of the remaining factors tilted slightly in Northrop's favor but not so strongly as to mandate dismissal.   See Moses H. Cone, 460 U.S. at 16 (relevant factors to be heavily weighed in favor of the exercise of jurisdiction);   Villa Marina, 947 F.2d at 532.  The district court's decision to dismiss, however, was based on its concern about the third factor, the desirability of avoiding piecemeal litigation.
    
    
      6
      The district court determined the present case to be "on all fours" with the facts of  Liberty Mutual Insurance Co. v. Foremost-McKesson, Inc., 751 F.2d 475 (1st Cir. 1985).  In McKesson, a DES manufacturer brought suit against all of its insurers in California state court while one of its insurers brought suit in Massachusetts federal court seeking declaratory judgment as to its rights and obligations under its insurance policies.  We affirmed the district court's stay of the federal proceedings, stating that
    
    
      7
      [h]ere, as in Colorado River, piecemeal litigation could severely prejudice the rights of one of the parties.  If the federal and state actions were to proceed concurrently, there is the real possibility that the two courts might interpret the same standard policy language differently, with the result that McKesson would find itself without sufficient liability insurance coverage from the insurers....
    
    
      8
      The California action, which was commenced first, is the more comprehensive of the two.  It involves all of McKesson's insurers and all of the products for which McKesson faces potential liability.  California therefore is the logical forum for the determination of the respective rights and obligations of the parties and serves to further the interest of judicial economy.
    
    
      9
      Id. at 477 (citations omitted).  Moreover, as in McKesson, the action here raises no federal issues and "no federal interest would be served by retaining jurisdiction over the case."  Id.
    
    
      10
      We concur with the district court's analysis and find no abuse of discretion.
    
    
      11
      Judgment affirmed.
    
    
      
        *
         Of the Eighth Circuit, sitting by designation
      
      
        *
         * Of the District of Puerto Rico, sitting by designation
      
      
        1
         The Honorable Robert E. Keeton, United States District Judge for the District of Massachusetts
      
      
        2
         Plaintiffs urge that the Colorado River doctrine should not be applied because of the joinder of the dissimilar fraud claims filed in the federal court.   Cf. McLaughlin v. United Virginia Bank, 955 F.2d 930 (4th Cir. 1992).  We note that these claims arose out of the California litigation involving acts, witnesses and lawyers all located in California.  Judge Keeton acknowledged the fact that there were non-coverage claims but observed:
        This brings me to one final difficulty regarding the ultimate disposition of the claims made by plaintiffs.  Although this question has not been addressed in the precedents, I conclude that since it is within my discretion to dismiss plaintiffs' coverage claim it is within my discretion to dismiss the entire action.  In so deciding, however, I recognize that a different answer might have been reached if plaintiffs' tort claims had been brought independently.  Plaintiffs did not choose that course, however, and it would be inappropriate for me to retain jurisdiction over the tort claims only on an assumption, unsupported by the record, that a choice for that version of piecemeal litigation has been or would be manifested.  I conclude that dismissal of the entire claim is appropriate.  If plaintiffs wish to contend otherwise, they may file an appropriate post-judgment motion within the time allowed by law.
        We find no abuse of discretion in Judge Keeton's dismissal.  The overall claims relate to the basic dispute relating to coverage which is the basis of the declaratory judgment action.
      
    
    